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                                                       UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO.: 18-CV-24100-COOKE/
                                                                  GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

                            NOTICE OF PARTIAL SETTLEMENT

         COME NOW the parties, Plaintiff, Digna Vinas (“Vinas”), and Defendant, The

  Independent Order of Foresters (“Foresters”), by and through undersigned counsel and

  pursuant to S.D. Fla. L.R. 16.4, hereby file this Notice of Partial Settlement and state:

         1.       The parties have resolved some issues in the case, including:

                  A.     Foresters has agreed to pay Vinas the total amount due under the life

         insurance certificate in question.

                  B.     Foresters has agreed to pay interest at the appropriate statutory rate until

         the policy funds are received by Plaintiff.

                  C.     Foresters has agreed to pay a reasonable attorney’s fee and recoverable

         costs.

         2.       Several issues remain unresolved including:

                  A.    Plaintiff’s entitlement to consequential damages, and if so the amount.
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                 B. Plaintiff has filed a Motion to Amend her complaint to add a claim for

         Fraud in the Inducement and seeking punitive damages. Defendant has filed an

         Opposition to the Motion. Plaintiff’s Reply is not yet due.

                 C.      The amount of reasonable attorney’s fees and recoverable costs to which

         Plaintiff is entitled.

         The parties are presently in discussions to attempt to resolve the remaining issues.



  Dated this 7th day of April, 2020.


  Respectfully Submitted,

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         I HEREBY CERTIFY that on April 7, 2020, the foregoing document was served via

  the CM /ECF system to Kristina B. Pett, Esq., Danielle Shure, Esq., McDowell Hetherington




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